 1   WO
 2
 3
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                       No. CR-13-8046-PCT-DGC
10                        Plaintiff,
11   v.                                              DETENTION ORDER
12   Brandon James Lee,
13                        Defendant.
14
15         On May 1, 2017, defendant, Brandon James Lee, appeared before this Court on a
16   petition for revocation of supervised release. The Court considered the information
17   provided to the Court, and the arguments of counsel in determining whether the
18   defendant should be released on conditions set by the Court.
19         The Court finds that the defendant, having previously been convicted and placed
20   on supervised release, and having appeared before the Court in connection with a petition
21   to revoke his supervised release, has failed to establish by clear and convincing evidence
22   that he is not likely to flee or pose a danger to the safety of the community if released
23   pursuant to Rule 46(d), and Rule 32.1(a)(6), Federal Rules of Criminal Procedure, and 18
24   U.S.C. § 3143.
25         IT IS THEREFORE ORDERED that defendant be detained pending further
26   proceedings.
27         Dated this 2nd day of May, 2017.
28
